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                                                                                        101 Second St., Suite 1800
                                                                                    5   San Francisco, CA 94105
                                                                                        Telephone: +1 415 543 8700
                                                                                    6   Facsimile: +1 415 391 8269

                                                                                    7
                                                                                        Attorneys for Plaintiff,
                                                                                    8   BENEFIT COSMETICS LLC

                                                                                    9                               UNITED STATES DISTRICT COURT

                                                                                   10             NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
                 A limited liability partnership formed in the State of Delaware




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                                                                                   12 BENEFIT COSMETICS LLC,                            Case No. 3:23-cv-00861-RS
REED SMITH LLP




                                                                                   13                      Plaintiff,                   PLAINTIFF BENEFIT COSMETICS LLC’S
                                                                                                                                        AMENDED EXHIBIT LIST
                                                                                   14        v.

                                                                                   15 E.L.F. COSMETICS, INC.                            Courtroom: 3
                                                                                                                                        Judge:      Hon. Richard Seeborg
                                                                                   16                      Defendant.                   Trial Date: Aug. 26, 2024

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                                                                                        Case No. 3:23-cv-00861-RS
                                                                                                                        PLAINTIFF’S AMENDED EXHIBIT LIST
                                                                                            Case 3:23-cv-00861-RS Document 136 Filed 08/23/24 Page 2 of 32




                                                                                    1         Attached as Exhibit A hereto is Plaintiff Benefit Cosmetics LLC’s amended exhibit list,

                                                                                    2 replacing Exhibit A to the Joint Pretrial Statement, ECF 112.

                                                                                    3
                                                                                        DATED:       August 23, 2024               REED SMITH LLP
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                                                                                    5
                                                                                                                                   By: /s/ Seth B. Herring
                                                                                    6                                                  Seth B. Herring
                                                                                                                                       Adaline J. Hilgard
                                                                                    7                                                  Quynh La
                                                                                                                                       Attorneys for Plaintiff
                                                                                    8                                                  BENEFIT COSMETICS LLC

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                 A limited liability partnership formed in the State of Delaware




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REED SMITH LLP




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                                                                                   21

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                                                                                                                       PLAINTIFF’S AMENDED EXHIBIT LIST
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               EXHIBIT A
                                               Case 3:23-cv-00861-RS Document 136 Filed 08/23/24 Page 4 of 32
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EX. NO.                             DESCRIPTION                                  BEGBATES            ENDBATES        SPONSORING WITNESS    STATUS OF RECEIPT




                                                                                                                        Evans, Chelsea
       Tube of Benefit Curling Roller Lash Mascara with pink cap and black                                             Whipple, Jennifer
PTX001            base (Jessica Urhausen Deposition Ex. 2)                           N/A                 N/A           Urhausen, Jessica

          Tube of e.l.f. Lash 'N Roll Mascara (Jessica Urhausen Deposition Ex.
PTX002                                      3)                                       N/A                 N/A           Urhausen, Jessica




       August 23, 2012 Line review PowerPoint presentation, "e.l.f. Spring                                             Urhausen, Jessica
        2023 Line Review" (Jessica Urhausen Deposition Ex. 4 and John                                                    Hansen, John
PTX003                     Hansen Deposition Ex. 7)                              ELF0000280          ELF0000431        Boston, Brooklyn

        October 3, 2019 Meeting invite from Jessica Cilla to Jessica Cilla,
         Ellie Off, Gayitri Budhraja, Sara Studebaker, Jessica Urhausen,
       Subject of Meeting: Holy Grail Analysis; Attachment: 2020 Holy Grail
PTX004         Assessment.xlsx (Jessica Urhausen Deposition Ex. 5)               ELF0007980           ELF007981        Urhausen, Jessica
         January 31, 2020 Email from Jessica Urhausen to Jessica Cilla,
           Miles George, Sara Studebaker, Robin Shandler, Francesca
          Florendo, Adriana Reyes, Holly Nguyen, Sydney Hafen, Anna
        Bynum, Morgan Van Arnam, Ashley Rosebrook, Taylor Chow RE:
PTX005          Mascara brainstorm (Jessica Urhausen Depo Ex. 6)                 ELF0004138          ELF0004140        Urhausen, Jessica



           December 27, 2019 e.l.f. Mascara Strategy February Stage Gate
PTX006                    (Jessica Urhausen Deposition Ex. 7)                    ELF0000499          ELF0000526        Urhausen, Jessica
             April 4, 2020 Meeting Invite from Jessica Urhausen to Jessica
            Urhausen, Francine Dreyfus, Caitlin McElroy; Subject: Mascara
            concept; attachment: Mascara concept.pptx (Jessica Urhausen
PTX007                              Deposition Ex. 8)                            ELF0005022          ELF0005031        Urhausen, Jessica




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             May 7, 2020 Brief for Lash 'N Roll Mascara (Jessica Urhausen                                             Urhausen, Jessica
PTX008                              Deposition Ex. 9)                          ELF0000546           ELF0000552           Otani, Laura


          March 30, 2021 Slack conversation between Jessica Urhausen and
PTX009      Erin Frier, 28 messages (Jessica Urhausen Deposition Ex. 10)       ELF0003134           ELF0003136        Urhausen, Jessica


        April 22, 2021 Slack conversation between Jessica Urhausen and
       Mickenzie Noguera, 74 messages (Jessica Urhausen Deposition Ex.
PTX010                                 11)                                     ELF0003671           ELF0003683        Urhausen, Jessica

       April 19, 2021 Email from Mickenzie Noguera to Ashley Rosebrook
             and Laura Otani cc: Atiyaa Reed RE: New Mascara 2022                                                     Urhausen, Jessica
PTX011 Attachment: Lash N Roll.pdf (Jessica Urhausen Deposition Ex. 12)        ELF0008046           ELF0008047           Otani, Laura



          April 24, 2021 Email from Jessica Urhausen to Robin Shandler
           regarding package sent to Robin of e.l.f.'s top four mascaras
PTX012                 (Jessica Urhausen Deposition Ex. 13)                    ELF0005011           ELF0005011        Urhausen, Jessica
       June 10, 2021 Email from Jessica Urhausen to Lucrezia Conklin, cc:
       Samantha Lee regarding mascara; attachment: Lash it long brief.pptx
PTX013                 (Jessica Urhausen Deposition Ex. 14)                    ELF0006818           ELF0006822        Urhausen, Jessica
         June 7, 2021 Slack conversation between Jessica Urhausen and
       Mickenzie Noguera, 10 messages (Jessica Urhausen Deposition Ex.
PTX014                                 15)                                     ELF0003684           ELF0003685        Urhausen, Jessica

          January 25, 2022 Slack conversation between Jessica Urhausen and
PTX015       Erin Frier, 88 messages (Jessica Urhausen Deposition Ex. 16)      ELF0003207           ELF0003214        Urhausen, Jessica

       February 7, 2022 Email from Ashley Rosebrook to Laura Otani, cc:                                               Urhausen, Jessica
       Mickenzie Noguera RE: Packaging for Feedback (Jessica Urhausen                                                    Otani, Laura
PTX016                        Deposition Ex. 17)                               ELF0007995           ELF0008000        Fletcher, Timothy



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        February 11, 2022 Slack conversation between Jessica Urhausen
       and Mickenzie Noguera, 3 messages (Jessica Urhausen Deposition
PTX017                               Ex. 18)                                    ELF0003688           ELF0003688        Urhausen, Jessica
         February 11, 2022 Series of designs, e.l.f. Lash 'N Roll (Jessica                                             Urhausen, Jessica
PTX018                    Urhausen Deposition Ex. 19)                           ELF0000052           ELF0000054           Otani, Laura
           February 16, 2022 Email from Mickenzie Noguera to Ashley
       Rosebrook and Laura Otani RE: packaging topics: Project Runway +
          Others; attachment: packaging internal-12.16.21.pdf (Jessica                                                 Urhausen, Jessica
PTX019                    Urhausen Deposition Ex. 20)                           ELF0009200           ELF0009214           Otani, Laura
        February 19, 2022 Slack conversation between Jessica Urhausen,
          Holly Nguyen, Erin Frier, Carly Francis; 6 messages (Jessica
PTX020                    Urhausen Deposition Ex. 21)                           ELF0003050           ELF0003050        Urhausen, Jessica


          April 1, 2022 Trademark research report for the mark "Lash 'N Roll"
PTX021                   (Jessica Urhausen Deposition Ex. 22)                   ELF0000917           ELF0001156        Urhausen, Jessica

        June 1, 2022 Slack conversation between Jessica Urhausen and
PTX022 Robin Shandler; 49 messages (Jessica Urhausen Deposition Ex. 23)         ELF0003697           ELF0003702        Urhausen, Jessica


          June 1, 2022 e.l.f. mascara product options (Jessica Urhausen                                                Urhausen, Jessica
PTX023                          Deposition Ex. 24)                              ELF0000058           ELF0000058           Otani, Laura
        June 6, 2022 Slack conversation between Jessica Urhausen and
       Mickenzie Noguera, 14 messages (Jessica Urhausen Deposition Ex.
PTX024                                  25)                                     ELF0003690           ELF0003691        Urhausen, Jessica

          October 1, 2021 Presentation to E.L.F. Board of Directors titled
       "E.L.F. Innovation BOD August 2022" (Jessica Urhausen Deposition
PTX025                                Ex. 26)                                   ELF0000432           ELF0000456        Urhausen, Jessica
        November 1, 2022 Slack conversation between Jessica Urhausen,
        Holly Nguyen, Erin Frier, Christal Martinez; 28 messages (Jessica
PTX026                     Urhausen Deposition Ex. 27)                          ELF0003098           ELF0003101        Urhausen, Jessica




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       Photo of Covergirl mascara sold at Walmart, photo of Ink Black Cara     ELFSAMPLE00001    ELFSAMPLE00001.02
                                                                               ELFSAMPLE00002    ELFSAMPLE00002.02
           mascara sold at Amazon, photo of Glamour Dolls Essentials
                                                                               ELFSAMPLE00003    ELFSAMPLE00003.02
          mascara sold at Amazon, photo of NYX Professional Makeup
                                                                               ELFSAMPLE00029    ELFSAMPLE00029.02
       Lipstick sold at Amazon, photo of Farmasi 3D Effect High Definition     ELFSAMPLE00030    ELFSAMPLE00030.02
       mascara sold at Amazon, photo of L.A. Colors Defining mascara sold      ELFSAMPLE00032    ELFSAMPLE00032.02
        on Ebay, photo of L.A. Colors Full mascara sold on Ebay, photo of      ELFSAMPLE00034    ELFSAMPLE00034.03
        Avon mascara sold on Ebay, photo of L.A. Colors mascara sold on        ELFSAMPLE00037    ELFSAMPLE00037.03
PTX027              Ebay (Jessica Urhausen Deposition Ex. 28)                  ELFSAMPLE00049    ELFSAMPLE00049.03     Urhausen, Jessica
           June 26, 2023 Spreadsheet: Lash 40 n Roll Sales Summary
PTX028            v11.3.2023.xlsx (Joan Tuan Deposition Ex.30)                  ELF0013365          ELF0013365            Tuan, Joan
                                                                                                                       Whipple, Jennifer
       August 14, 2023 Comparison chart of different Benefit mascaras with                                             Evans, Chelsea
PTX029             photos (Jennifer Whipple Deposition Ex. 3)                  BENEFIT001918      BENEFIT001918        Fletcher, Megan
         October 18, 2018 Q1 2019 Global Marketing Plan - Roller Liner                                                 Whipple, Jennifer
PTX030             eyeliner (Jennifer Whipple Deposition Ex. 8)                BENEFIT000463      BENEFIT000496        Evans, Chelsea


       November 13, 2017 Q1 2019 A Global Campaign Brief - Roller Liner                                                Whipple, Jennifer
PTX031             eyeliner (Jennifer Whipple Deposition Ex.9)                 BENEFIT000577      BENEFIT000577        Evans, Chelsea
         August 1, 2019 Benefit Roller Lash 2.0 Storytelling Research &
        Concept Proposal - Global Product Marketing Product Innovation                                                 Whipple, Jennifer
PTX032                (Jennifer Whipple Deposition Ex. 10)                     BENEFIT001530      BENEFIT001544        Evans, Chelsea
        October 31, 2014 Benefit Roller Lash (pink top, black bottom) PR
          Squad Guidelines for product information, press event assets,
         presentation/PR content assets, press dates, strategy (Jennifer                                               Whipple, Jennifer
PTX033                     Whipple Deposition Ex. 11)                          BENEFIT000805      BENEFIT000862        Evans, Chelsea


          June 11, 2014 2014 Global Marketing Plan - Roller Lash (pink top,                                            Whipple, Jennifer
PTX034           black bottom) (Jennifer Whipple Deposition Ex.12)             BENEFIT000497      BENEFIT000497        Evans, Chelsea


          October 20, 2014 Benefit Ulta Long Term Plan (2015-2017) (Jennifer                                           Whipple, Jennifer
PTX035                       Whipple Deposition Ex. 13)                        BENEFIT000224      BENEFIT000224        Evans, Chelsea




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           March 13, 2017 Benefit Mascara consumer and category insights                                               Whipple, Jennifer
PTX036                  (Jennifer Whipple Deposition Ex. 14)                    BENEFIT000500      BENEFIT000500       Evans, Chelsea



          January 11, 2019 US Marketing Update (Jennifer Whipple Deposition                                            Whipple, Jennifer
PTX037                                 Ex. 15)                                  BENEFIT000458      BENEFIT000458       Evans, Chelsea



          July 10, 2023 Market Trends US NPD Deep Dive (Jennifer Whipple                                               Whipple, Jennifer
PTX038                            Deposition Ex. 16)                            BENEFIT000499      BENEFIT000499       Evans, Chelsea



                                                                                BENEFIT000005      BENEFIT000005
       June 1, 2023 Photos of Ulta at Target in-store displays of Benefit and   BENEFIT000009      BENEFIT000009
        Roller Lash (pink top, black bottom), including "#1 prestige mascara    BENEFIT000010      BENEFIT000010       Whipple, Jennifer
PTX039         brand in the US" (Jennifer Whipple Deposition Ex. 17)            BENEFIT000011      BENEFIT000011       Evans, Chelsea

            July 10, 2023 Excel spreadsheets: Roller Lash - US Sales Data -
               revenues 2019, 2020, 2021, 2022, 2023 (Jennifer Whipple                                                 Whipple, Jennifer
PTX040                             Deposition Ex. 18)                           BENEFIT000400      BENEFIT000400       Evans, Chelsea


          May 24, 2023 spreadsheets: US Roller Lash sales data: 2015-2023                                              Whipple, Jennifer
PTX041            year to date (Jennifer Whipple Deposition Ex. 19)             BENEFIT002264      BENEFIT002264       Evans, Chelsea

       February 24, 2012 Detailed presentation, including photographs and
       description of concepts regarding development of distinct packaging
PTX042          for Roller Lash (Megan Fletcher Deposition Ex. 21)              BENEFIT000131      BENEFIT000146        Fletcher, Megan




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EX. NO.                            DESCRIPTION                                     BEGBATES           ENDBATES        SPONSORING WITNESS   STATUS OF RECEIPT
        March 8, 2012 Email discussion between Hannah Malott (creative
       director of Benefit) and Daniel Ballou (minister of industrial design at
        dashdot studios) regarding "Curling Mascara - Phase 1 Feedback"
         and discussing name and design concept for Roller Lash (Megan
PTX043                       Fletcher Deposition Ex. 22)                          BENEFIT000100     BENEFIT000101        Fletcher, Megan
          March 19, 2012 Email from Hannah Malott (creative director of
         Benefit) to Daniel Ballou (minister of industrial design at dashdot
       studios) regarding cool vintage hair roller as inspiration for mascara
PTX044             container (Megan Fletcher Deposition Ex. 23)                   BENEFIT000118     BENEFIT000118        Fletcher, Megan

          March 27, 2012 Email from Hannah Malott (creative director of
         Benefit) to Daniel Ballou (minister of industrial design at dashdot
       studios) confirming name will be "Rollerlash" for curve mascara and
PTX045     suggests a few font ideas (Megan Fletcher Deposition Ex. 24)           BENEFIT000126     BENEFIT000126        Fletcher, Megan
       April 6, 2012 Email from Hannah Malott (creative director of Benefit)
         to Daniel Ballou (minister of industrial design at dashdot studios)
       asking if ready to send over 2 roller lash concepts. (Megan Fletcher
PTX046                           Deposition Ex. 25)                               BENEFIT000125     BENEFIT000125        Fletcher, Megan

        April 6, 2012 Phase 2A presentation on curling mascara concepts:
       slides show options for packaging designs for Rollerlash (mint green
PTX047         and silvers/greys) (Megan Fletcher Deposition Ex. 26)              BENEFIT000147     BENEFIT000157        Fletcher, Megan

       April 17, 2012 Phase 2B presentation on curling mascara concepts:
       slides show options for packaging designs for Rollerlash (pinks and
PTX048           silvers/greys) (Megan Fletcher Deposition Ex. 27)                BENEFIT000158     BENEFIT000168        Fletcher, Megan
       May 10, 2012 Email from Hannah Malott (creative director of Benefit)
         to Daniel Ballou (minister of industrial design at dashdot studios)
        providing feedback after review of the Roller Lash design models -
       includes image with notes and follow-on questions (Megan Fletcher
PTX049                           Deposition Ex. 28)                               BENEFIT000123     BENEFIT000124        Fletcher, Megan

       June 14, 2012 Phase 3 presentation from dashdot studios on curling
       mascara CAD: slides show 3 options, collar update, dimensions and
PTX050    depictions of Roller Lash (Megan Fletcher Deposition Ex. 29)            BENEFIT000127     BENEFIT000130        Fletcher, Megan




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       April 25, 2012 Email from Hannah Malott (creative director of Benefit)
       to Daniel Ballou (minister of industrial design at dashdot studios) and
            Megan Fletcher confirming move to modeling stage, selecting
           proposed options, and requesting models eta (Megan Fletcher
PTX051                            Deposition Ex. 30)                             BENEFIT000018     BENEFIT000018       Fletcher, Megan
         December 1, 2019 Benefit brand guidelines - for internal use only:                                            Fletcher, Megan
           details regarding brand concept, colors, logo, tag-lines (Megan                                             Evans, Chelsea
PTX052                       Fletcher Deposition Ex. 37)                         BENEFIT001310     BENEFIT001365       Whipple, Jennifer
           February 12, 2020 Meeting Invitation from Jessica Urhausen to
            Patrick O'Keefe, Brooklyn Boston, Mickenzie Noguera, Robin
       Shandler, Shayna Marcos, Hanna Klein, Ashley Rosebrook, Francine
         Dreyfus, and cc: to Francesca Florendo RE: Mascara Concept, w/
        attachment titled Mascara Strategy (Brooklyn Boston Deposition Ex.
PTX053                                   31)                                      ELF0013895         ELF0013904        Boston, Brooklyn

         June 10, 2021 Slack messages between Francine Dreyfus and
PTX054 Brooklyn Boston, 69 Messages (Brooklyn Boston Deposition Ex. 32)           ELF0001667         ELF0001672        Boston, Brooklyn
          August 19, 2021 Emails between Erin Frier, Christal Martinez,
         Auguste Moisson, Jessica Urhausen cc Carly Francis and Holly
         Nguyen RE: e.l.f. & W3LL Consumer Insights Tiger Team - 8/16
PTX055         Meeting Notes (Brooklyn Boston Deposition Ex. 33)                  ELF0004256         ELF0004263        Boston, Brooklyn
        March 23, 2022 Email from Carly Francis to Rebecca Orenstein &
          Brooklyn Boston RE: Lash N Roll Consumer Claims (Brooklyn
PTX056                      Boston Deposition Ex. 34)                             ELF0013032         ELF0013033        Boston, Brooklyn
         May 6, 2022 Emails between Brooklyn Boston, Shana Haddad,
        Kristen Savitsky, and Gayitri Budhraja FW: NOTES - Spring 2023
        Graphic Re-Connect: Attachment: Spring 2023 Big Bet Company
PTX057           Alignment (Brooklyn Boston Deposition Ex. 35)                    ELF0010098         ELF0010108        Boston, Brooklyn
       December 5, 2022 Slack messages including Miles George; Kristin
       Falk; Remy Klein; Holly Nguyen; Maria Juncaj; Jason Syetta; Anna
                 Bynum; Barbara Margolis; Mickenzie Noguera;
        Brooklyn Boston et al. re Socialproductsqs; 5 messages (Brooklyn
PTX058                      Boston Deposition Ex. 36)                             ELF0003111         ELF0003112        Boston, Brooklyn

        February 14, 2023 Slack messages between Caitlin McElroy and
PTX059 Brooklyn Boston; 8 Messages (Brooklyn Boston Deposition Ex. 37)            ELF0001529         ELF0001530        Boston, Brooklyn
          February 14, 2023 e.l.f. Lash 'N Roll Boots Banner Copy Doc
PTX060                (Brooklyn Boston Deposition Ex. 38)                         ELF0000655         ELF0000655        Boston, Brooklyn


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EX. NO.                            DESCRIPTION                                    BEGBATES           ENDBATES        SPONSORING WITNESS    STATUS OF RECEIPT

       April 12, 2023 e.l.f. Lash N Roll at Retail (Brooklyn Boston Deposition                                          Boston, Brooklyn
PTX061                 Ex. 39 and John Hansen Deposition Ex. 6)                   ELF0000060         ELF0000068          Hansen, John
           April 27, 2023 In-store graphic at a Target for e.l.f. Lash 'N Roll
PTX062              mascara (Brooklyn Boston Deposition Ex. 40)                  BENEFIT000001     BENEFIT000001       Boston, Brooklyn
        August 18, 2023 Twitter, Benefit Roller Lsh Super Curling Mascara
PTX063                     (Brooklyn Boston Deposition Ex. 41)                   BENEFIT002150     BENEFIT002150       Boston, Brooklyn
         "Such a Pretty Curl" ad for Benefit Roller Lash Mascara (Brooklyn
PTX064                          Boston Deposition Ex. 42)                        BENEFIT000691     BENEFIT000691       Boston, Brooklyn
       September 13, 2023 e.l.f. Lash 'N Roll - Image shown on e.l.f. social
PTX065                media (Brooklyn Boston Deposition Ex. 43)                   ELF0001330         ELF0001330        Boston, Brooklyn
          e.l.f. mobile home page tile - "eye-mazing curl" (Brooklyn Boston
PTX066                              Deposition Ex. 44)                            ELF0000565         ELF0000565        Boston, Brooklyn
          e.l.f. email - "everyone has eyes for lash 'n roll (Brooklyn Boston
PTX067                              Deposition Ex. 45)                            ELF0000567         ELF0000567        Boston, Brooklyn
       Photos of e.l.f. PR kit for influencers (Brooklyn Boston Deposition Ex.
PTX068                                     46)                                    ELF0000663         ELF0000664        Boston, Brooklyn

          August 15, 2006 Product Concept, 2026 Mascara Primer (Chelsea                                                Evans, Chelsea
PTX069                       Evans Deposition Ex. 40)                            BENEFIT000580     BENEFIT000580       Whipple, Jennifer

       July 17, 2023 Letter from Sarah Bruno at Reed Smith to Sally Craig
       at Warpaint Cosmetics re Infringement of Benefit Cosmetics LLC's                                                Evans, Chelsea
PTX070   Intellectual Property Rights (Chelsea Evans Deposition Ex. 43)          BENEFIT000641     BENEFIT000733       Whipple, Jennifer
        November 30, 2023 W7 More Lashes Lengthening Mascara - W7
                                   Makeup USA
       https://w7makeup.com/collections/mascara/products/more-lashes-                                                  Evans, Chelsea
PTX071      lengthening-mascara (Chelsea Evans Deposition Ex. 44)                     n/a                 n/a          Whipple, Jennifer




            July 12, 2023 Screenshot of US NPD Power BI Dashboard for                                                  Evans, Chelsea
PTX072        mascara product sales (Chelsea Evans Deposition Ex. 45)            BENEFIT002265     BENEFIT002266       Whipple, Jennifer

        Photo showing components related to e.l.f.'s Lash It Loud and the
       inspiration. Photo includes Halo Glow cap from liquid filter and some
PTX073      swatches of possible pinks (Laura Otani Deposition Ex. 31)            ELF0000101         ELF0000101           Otani, Laura


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EX. NO.                           DESCRIPTION                                   BEGBATES            ENDBATES        SPONSORING WITNESS   STATUS OF RECEIPT
       November 1, 2021 e.l.f. Design Turnover 01 SP23 Mascara Options
          for "Lash it Long", "Lash 'N Roll" and "Major Curl" (Laura Otani
PTX074                           Deposition Ex. 32)                            ELF0000099           ELF0000099          Otani, Laura
       March 23, 2022 e.l.f Design Turnover 02 8307 Lash 'n Roll 2021-E28
PTX075                    (Laura Otani Deposition Ex. 33)                      ELF0000005           ELF0000007          Otani, Laura
       May 24, 2022 Email from Ashley Rosebrook to Mickenzie Noguera,
         cc:Laura Otani, Teresa Mok RE: Lash N Roll Deco FOR COMP;
       Attachments: Lash N Roll Photo comps (Laura Otani Deposition Ex.
PTX076                                  34)                                    ELF0009026           ELF0009031          Otani, Laura
         May 24, 2022 Slack Message between Mickenzie Noguera and
        Laura Otani regarding creating a comp for shooting of the Lash 'N
          Roll component, 18 messages; Attachment: Lash N Roll photo
PTX077                    (Laura Otani Deposition Ex. 35)                      ELF0004017           ELF0004021          Otani, Laura

         May 31, 2022 Email from Alexa Calder to Laura Otani; cc: Ashley
         Rosebrook, Mickenzie Noguera, Olivia Glynn, Teresa Mok, Emily
PTX078         Swift RE: Lash N Roll (Laura Otani Deposition Ex. 36)           ELF0008610           ELF0008614          Otani, Laura
       May 31, 2022 Email from Laura Otani to Ashley Rosebrook RE: Lash
        N Roll; Attachment: lashnroll_COMPS.pdf (Laura Otani Deposition
PTX079                                Ex. 37)                                  ELF0009656           ELF0009657          Otani, Laura
       May 31, 2022 Email from Laura Otani to Ashley Rosebrook RE: Lash
PTX080                N Roll (Laura Otani Deposition Ex. 38)                   ELF0009651           ELF0009652          Otani, Laura
          June 1, 2022 Email from Teresa Mok to Laura Otani and Ashley
       Rosebrook; cc: Mickenzie Noguera RE: Lash N Roll Design Options;
            Attachments: LashNRoll_Options_060122.pdf (Laura Otani
PTX081                          Deposition Ex. 39)                             ELF0007241           ELF0007242          Otani, Laura
         June 1, 2022 Slack Message between Laura Otani, Olivia Glynn,
PTX082       Teresa Mok, 3 Messages (Laura Otani Deposition Ex. 40)            ELF0004131           ELF0004131          Otani, Laura
              June 9, 2022 Email from Sophie Zau at e.l.f. Cosmetics
        [wrike@wrike.com] to Laura Otani RE: [2021-E28 83071-3 Lash 'n
            Roll 3. Component + Packaging -US+EU] DTO (Laura Otani
PTX083                          Deposition Ex. 41)                             ELF0008529           ELF0008530          Otani, Laura
         June 10, 2022 Design Turnover 04 83071 Lash 'N Roll 2021-E28
PTX084    Mascara Deco, Innovation Brief (Laura Otani Deposition Ex. 42)       ELF0000009           ELF0000009          Otani, Laura

               June 9, 2022 Email from Sally Zhuang at e.l.f. Cosmetics
          [wrike@wrike.com] to Laura Otani RE: [2021-E28 83071-3 Lash 'n
PTX085     Roll 4. Cost + PO] Ballpark Cost (Laura Otani Deposition Ex. 43)    ELF0008527           ELF0008528          Otani, Laura


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           June 15, 2022 e.l.f. Lash 'N Roll Mascara Logo Photos; Benefit
PTX086              Roller Lash (Laura Otani Deposition Ex. 44)               ELF0000048           ELF0000051           Otani, Laura

        March 2, 2023 Slack Message between Laura Otani and Mickenzie
PTX087        Noguera, 50 messages (Laura Otani Deposition Ex. 45)            ELF0004055           ELF0004060           Otani, Laura
       January 26, 2021 Email from Brooklyn Boston to Amy Elliott, Gayitri
         Budhraja, Jessica Cilla, Robin Shandler, Jessica Urhausen, Sara
       Studebaker, Katie Tacito, Michelle Florentino RE: PRES + NOTES -
       KORY-e.l.f. Spring 2022 Innovation Plan (Katie Tacito Deposition Ex.
PTX088                                   46)                                  ELF0006489           ELF0006492           Tacito, Katie
         April 6, 2021 Email string from Brooklyn Boston to Milanie Dorta,
       Dina Goodman, Katie Tacito, Amy Elliott, Jessica Urhausen, Ashley
          Rosebrook, Alexa Calder, Heidi MacDonell, Erica Milner (Katie
PTX089                       Tacito Deposition Ex. 47)                        ELF0005906           ELF0005909           Tacito, Katie

       February 5, 2020 Email from Jessica Urhausen to Amy Elliott, Katie
        Tacito cc: Robin Shandler RE: Mascara strategy for stage gate on
       Friday; Attachments: Mascara strategy Stage Gate 2.4.0.pptx (Katie                                              Tacito, Katie
PTX090     Tacito Deposition Ex. 48 and John Hansen Deposition Ex. 8)         ELF0005439           ELF0005467          Hansen, John

            January 1, 1997 Article, "An Account of Object Identification
       Confusions" by Barbara L. O'Kane, Irving Biederman, Eric E. Cooper,
         Beth Nystrom; Journal of Experimental Psychology: Applied 1997,
PTX091          Vol. 3, No. 1, 21-41 (Tim Fletcher Deposition Ex. 3)       FLETCHER000001       FLETCHER000021        Fletcher, Timothy
            January 1, 2012 "A Century of Gestalt Psychology in Visual
       Perception: I. Perceptual Grouping and Figure-Ground Organization;
        Johan Wagemans, James Elder, Michael Kubovy, Stephen Palmer,
       Mary Peterson, Manish Singh, Rudiger von der Heydt; Psychological
        Bulletin 2012, Vol. 138, No. 6, 1172-1217 (Tim Fletcher Deposition
PTX092                                  Ex. 4)                             FLETCHER000047       FLETCHER000092        Fletcher, Timothy
            January 1, 2012 "A Century of Gestalt Psychology in Visual
          Perception: II. Conceptual and Theoretical Foundations; Johan
       Wagemans, Jacob Feldman, Sergei Gepshtein, Ruth Kimchi, James
        Pomerantz, Peter van der Helm, Cees van Leeuwen; Psychological
        Bulletin 2012, Vol. 138, No. 6, 1218-1252 (Tim Fletcher Deposition
PTX093                                  Ex. 5)                             FLETCHER000093       FLETCHER000126        Fletcher, Timothy




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          July 26, 2016 Defining Premium Beauty Packaging; (Victoria Colby
                                   Deposition Ex. 2)

                    https://beautypackaging.com/issues/2016-07-
                  01/view_columns/defining-premium/; Marc Rosen
PTX094                                                                              N/A                 N/A            Colby, Victoria
          September 30, 2008 The Crazy Market of Mascaras by Jean-Yves
                   Bourgeois (Victoria Colby Deposition Ex. 9)

           https://www.premiumbeautynews.com/the-crazy-market-of-
       mascaras,254#:~:text=The%20very%20last%20months%20were,enti
PTX095           re%20cosmetics%20industry%20with%20greed                           N/A                 N/A            Colby, Victoria
          December 14, 2021 Importance of Colors in Cosmetics Brand
          Packaging-Artwork Flow by Gourav Kalbalia (Victoria Colby
                              Deposition Ex. 10)

          https://www.artworkflowhq.com/resources/importance-of-colors-in-
PTX096                       cosmetics-brand-packaging                              N/A                 N/A            Colby, Victoria




        December 20, 2023 Benefit Chart titled "My Community" regarding                                               Evans, Chelsea
PTX097                             media value                                BENEFIT057514       BENEFIT057515       Whipple, Jennifer
                      January 18, 2024 Target "Roller Lash"
       https:..www.target.com/?searchTerm=roller+lash+&tref=typeahead%                                                 Evans, Chelsea
PTX098             7Cterm%7Croller+lash+%7C%7C%7Chistory                      BENEFIT057517       BENEFIT057522       Whipple, Jennifer
              February 14, 2024 Coty’s COVERGIRL website showing                                                       Evans, Chelsea
         COVERGIRL mascara products, Declaration of Mary Santangelo                                                   Whipple, Jennifer
PTX099           https://www.covergirl.com/eye-makeup/mascara                 BENEFIT057823       BENEFIT057824       Santangelo, Mary
                                                                                                                       Evans, Chelsea
PTX100           Febraury 13, 2023 e.l.f. Store Display in Target             BENEFIT000003       BENEFIT000003       Whipple, Jennifer
       June 1, 2023 Visual showing proximity of Elf display to Ulta section                                            Evans, Chelsea
PTX101                             at Target                                  BENEFIT000008       BENEFIT000008       Whipple, Jennifer
         February 13, 2023 Benefit Display Roller Lash at Ulta display in                                              Evans, Chelsea
PTX102                              Target                                    BENEFIT000009       BENEFIT000009       Whipple, Jennifer
                                                                                                                       Evans, Chelsea
PTX103                February 13, 2023 Benefit Display at Ulta               BENEFIT000011       BENEFIT000011       Whipple, Jennifer

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       June 1, 2023 Visual showing proximity of Elf display to Ulta section                                                Evans, Chelsea
PTX104                            in Target                                      BENEFIT000169        BENEFIT000169        Whipple, Jennifer
                                                                                                                           Evans, Chelsea
PTX105                   June, 23, 2023 e.l.f. at Ulta display                   BENEFIT000195        BENEFIT000195        Whipple, Jennifer
                                                                                                                           Evans, Chelsea
PTX106                    June, 23, 2023 e.l.f. Ulta display                     BENEFIT000196        BENEFIT000196        Whipple, Jennifer
                                                                                                                           Evans, Chelsea
PTX107                     June 23, 2023 e.l.f. Ulta display                     BENEFIT000197        BENEFIT000197        Whipple, Jennifer


                                                                                                                           Evans, Chelsea
PTX108          November 18, 2018 Benefit Roller Lash Data Analytics             BENEFIT000198        BENEFIT000198        Whipple, Jennifer


           October 2, 2018 Excel regarding data analytics for Facebook and                                                 Evans, Chelsea
PTX109                    Instagram for Benefit Roller Lash                      BENEFIT000200        BENEFIT000200        Whipple, Jennifer


           October 2, 2020 Excel regarding data analytics for Facebook and                                                 Evans, Chelsea
PTX110                    Instagram for Benefit Roller Lash                      BENEFIT000201        BENEFIT000201        Whipple, Jennifer


          December 2, 2019 Excel regarding data analytics for Facebook and                                                 Evans, Chelsea
PTX111                   Instagram for Benefit Roller Lash                       BENEFIT000202        BENEFIT000202        Whipple, Jennifer


          February 2, 2017 Excel regarding data analytics for Facebook and                                                 Evans, Chelsea
PTX112                    Instagram for Benefit Roller Lash                      BENEFIT000203        BENEFIT000203        Whipple, Jennifer


          February 2, 2018 Excel regarding data analytics for Facebook and                                                 Evans, Chelsea
PTX113                    Instagram for Benefit Roller Lash                      BENEFIT000204        BENEFIT000204        Whipple, Jennifer


            April 2, 2019 Excel regarding data analytics for Facebook and                                                  Evans, Chelsea
PTX114                     Instagram for Benefit Roller Lash                     BENEFIT000205        BENEFIT000205        Whipple, Jennifer




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             May 2, 2017 Excel regarding data analytics for Facebook and                                                Evans, Chelsea
PTX115                    Instagram for Benefit Roller Lash                       BENEFIT000206     BENEFIT000206       Whipple, Jennifer


           August 26, 2016 Excel regarding data analytics for Facebook and                                              Evans, Chelsea
PTX116                    Instagram for Benefit Roller Lash                       BENEFIT000207     BENEFIT000207       Whipple, Jennifer


             January 1, 2015 Excel regarding data analytics for TikTok and                                              Evans, Chelsea
PTX117                  YouTube videos for Benefit Roller Lash                    BENEFIT000209     BENEFIT000209       Whipple, Jennifer


            December 1, 2022 Excel regarding data analytics for TikTok and                                              Evans, Chelsea
PTX118                  YouTube videos for e.l.f. Lash "N Roll                    BENEFIT000210     BENEFIT000210       Whipple, Jennifer
             December 28, 2022 Reddit Post regarding r/Ulta titled "dupe or
                          alternative for benefit roller lash?"

          https://www.reddit.com/r/Ulta/comments/zxqiw6/dupe_or_alternative_                                            Evans, Chelsea
PTX119                             for benefit_roller_lash/                       BENEFIT000212     BENEFIT000212       Whipple, Jennifer
             April 19, 2023 Instagram post by ajuliann regarding e.l.f products

       https://www.instagram.com/p/CroDTZ9O5yX/?igshid=MzRlODBiNWF                                                      Evans, Chelsea
PTX120                                 lZA==                                      BENEFIT000217     BENEFIT000217       Whipple, Jennifer
          March 8, 2023 Twitter tweet posted by @nicolahearts regarding
                       Benefit Roller Lash and e.l.f. product

          https://twitter.com/nicolahearts/status/1633541034511589401?s=46                                              Evans, Chelsea
PTX121                       &t=VO5GJ9u7T956jmyMPYtBeA                            BENEFIT000221     BENEFIT000221       Whipple, Jennifer


                                                                                                                        Evans, Chelsea
PTX122               June 26, 2023 Benefit's Ulta 2015 Brand Plan                 BENEFIT000223     BENEFIT000223       Whipple, Jennifer


             Febraury 1, 2022 Presentation titled "Benefit Mascara Reboot                                               Evans, Chelsea
PTX123                               Campaign"                                    BENEFIT000225     BENEFIT000225       Whipple, Jennifer


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                                                                                                                        Evans, Chelsea
PTX124               April 3, 2019 Benefit National Lash Day 2023                BENEFIT000227      BENEFIT000227       Whipple, Jennifer


           Febraury 25, 2019 Benefit Presentation titled "Benefit Roller Liner                                          Evans, Chelsea
PTX125                      Diner Event/Activation Recap"                        BENEFIT000228      BENEFIT000240       Whipple, Jennifer


           January 1, 2022 Benefit presentation titled "Beauty for All 2022                                             Evans, Chelsea
PTX126                                Programs"                                  BENEFIT000367      BENEFIT000378       Whipple, Jennifer
          May 30, 2023 Twitter tweet by sextingmatty regarding Benefit Roller
                             Lash and e.l.f. Lash 'N Roll

          https://twitter.com/sextingmatty/status/1663671653769916416?s=46                                              Evans, Chelsea
PTX127                       &t=VO5GJ9u7T956jmyMPYtBeA                           BENEFIT000379      BENEFIT000379       Whipple, Jennifer
          May 1, 2023 Facebook post by Julie Gerber regarding Benefit Roller
                                Lash and e.l.f. Lash 'N Roll

       https://www.facebook.com/750249351/posts/pfbid0nPo2QD8qsKTFA
       vQTgetnVx55LHJsFYkTnkMS4opM6mU2eDreHfKhQoTXXa83BNi4l/                                                            Evans, Chelsea
PTX128                              ?app=fbl                                     BENEFIT000390      BENEFIT000390       Whipple, Jennifer
       December 29, 2022 Reddit Post by legallydirtyblond titled "Drugstore
                      dupe for Benefit Roller Lash Mascara"

          https://www.reddit.com/r/makeupdupes/comments/zyps2x/drugstore_                                               Evans, Chelsea
PTX129                   dupe_for_benefit_roller_lash_mascara/                   BENEFIT000392      BENEFIT000392       Whipple, Jennifer
           February 11, 2023 Instagram Post by glamoxur regarding e.l.f. new
                             product and Benefit Roller Lash

          https://www.instagram.com/p/CoiQwy6JJJJ/?igshid=MzRlODBiNWFl                                                  Evans, Chelsea
PTX130                                 ZA==                                      BENEFIT000396      BENEFIT000396       Whipple, Jennifer


                                                                                                                        Evans, Chelsea
PTX131        January 1, 2015 Benefit Roller Lash PR Tracker 2015 - 2023         BENEFIT000401      BENEFIT000401       Whipple, Jennifer



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           December 9, 2014 Benefit Department Stores Long Term Plan                                                  Evans, Chelsea
PTX132                        Strategy 2015-2017                              BENEFIT000402       BENEFIT000452       Whipple, Jennifer


          September 14, 2016 Presentation regarding Benefit False Lashes                                              Evans, Chelsea
PTX133                     and Roller Lash Influencer                         BENEFIT000461       BENEFIT000461       Whipple, Jennifer


                                                                                                                      Evans, Chelsea
PTX134 February 3, 2017 Benefit presentation "GM Conference Roller Lash"      BENEFIT000462       BENEFIT000462       Whipple, Jennifer


           July 7, 2019 Benefit presentation "BENE babe Next Generation"                                              Evans, Chelsea
PTX135                                                                        BENEFIT000501       BENEFIT000501       Whipple, Jennifer


            May 4, 2018 Mascara Category Re-Boost Campaign Launch:                                                    Evans, Chelsea
PTX136                           February 2019                                BENEFIT000558       BENEFIT000560       Whipple, Jennifer


                                                                                                                      Evans, Chelsea
PTX137    August 2, 2022 Benefit National Lash Day Brief-February 19, 2023    BENEFIT000561       BENEFIT000562       Whipple, Jennifer


                                                                                                                      Evans, Chelsea
PTX138    April 3, 2019 Benefit presentation "2024 National Lash Day Brief"   BENEFIT000563       BENEFIT000563       Whipple, Jennifer


           April 3, 2019 Benefit presentation "Always on Content On-Going                                             Evans, Chelsea
PTX139                            Core Support 2023                           BENEFIT000564       BENEFIT000564       Whipple, Jennifer


       January 25, 2021 Benefit presentation "Eyes Up Here Campaign Q2                                                Evans, Chelsea
PTX140                    2022 A Launch Campaign"                             BENEFIT000565       BENEFIT000565       Whipple, Jennifer




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          October 2, 2017 Benefit presentation "Mascara category Re-Boost                                             Evans, Chelsea
PTX141                        Campaign June 2018"                            BENEFIT000569        BENEFIT000569       Whipple, Jennifer


          November 4, 2021 Benefit National Lash Day Asset Brief-February                                             Evans, Chelsea
PTX142                              19, 2022                                 BENEFIT000570        BENEFIT000570       Whipple, Jennifer


           March 13, 2017 Benefit Brief: Roller Lash & Real False Lashes                                              Evans, Chelsea
PTX143                  Influencer Send September 2017                       BENEFIT000575        BENEFIT000576       Whipple, Jennifer


                                                                                                                      Evans, Chelsea
PTX144     October 27, 2021 Benefit Excel, "Oct 2021 Mascara by Attribute"   BENEFIT000578        BENEFIT000578       Whipple, Jennifer


          March 29, 2018 Mascara Reboost Global Digital Benefit Cosmetics                                             Evans, Chelsea
PTX145                             April 2018                                BENEFIT000606        BENEFIT000639       Whipple, Jennifer


                                                                                                                      Evans, Chelsea
PTX146    August 9, 2022 Benefit 2023 Global Calendar Innovation and Core    BENEFIT000640        BENEFIT000640       Whipple, Jennifer


                                                                                                                      Evans, Chelsea
PTX147             September 9, 2014 Benefit Roller Lash Mascara             BENEFIT000891        BENEFIT000891       Whipple, Jennifer
                                                                                                                      Evans, Chelsea
PTX148         February 14, 2023 Benefit Roller Lash In Store Display        BENEFIT000941        BENEFIT000941       Whipple, Jennifer
                                                                                                                      Evans, Chelsea
PTX149                  May 25, 2023 Benefit Roll Lash Ad                    BENEFIT000944        BENEFIT000944       Whipple, Jennifer
            May 25, 2023 Benefit Roller Lash Ad displaying Mini and Full                                              Evans, Chelsea
PTX150                               versions                                BENEFIT000945        BENEFIT000945       Whipple, Jennifer
            May 25, 2023 Roller Lash Ad "Roller Lash Curling and Lifting
                                     Mascara                                                                          Evans, Chelsea
PTX151                            www.ulta.com                               BENEFIT000947        BENEFIT000947       Whipple, Jennifer



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       May 25, 2023 Roller Lash Ad, "Benefit Cosmetics Roller Lash Curling
                                & Lifting Mascara                                                                    Evans, Chelsea
PTX152                         www.sephora.com                               BENEFIT000948       BENEFIT000948       Whipple, Jennifer
            February 14, 2023 In Store Display for Benefit Roller Lash                                               Evans, Chelsea
PTX153                                                                       BENEFIT000964       BENEFIT000964       Whipple, Jennifer
                                                                                                                     Evans, Chelsea
PTX154 May 25, 2023 Benefit Roller Lash Ad, "Roller Lash Curling Mascara"    BENEFIT001080       BENEFIT001080       Whipple, Jennifer


                                                                                                                     Evans, Chelsea
PTX155        July 12, 2023 Benefit's Roller Lash LA Launch Guest List       BENEFIT001155       BENEFIT001180       Whipple, Jennifer


       August 2, 2023 Data Analytics for Benefit Roller Lash Video viewed                                            Evans, Chelsea
PTX156                    on various media platforms                         BENEFIT001233       BENEFIT001233       Whipple, Jennifer


          December 5, 2022 Email from Chiara Vernari to Benefit Creative                                             Evans, Chelsea
PTX157    Department regarding Beauty Bytes: December 5, 2022 Edition        BENEFIT001234       BENEFIT001235       Whipple, Jennifer
                                                                                                                     Evans, Chelsea
PTX158    August 2, 2023 Benefit New Lash Party BADgal Bang! Waterproof      BENEFIT001248       BENEFIT001248       Whipple, Jennifer
                                                                                                                     Evans, Chelsea
PTX159       August 2, 2023 Benefit Fan Fest for FANNED OUT lashes           BENEFIT001249       BENEFIT001249       Whipple, Jennifer


                                                                                                                     Evans, Chelsea
PTX160    April 13, 2023 Benefit presentation "#1 Prestige Mascara Brand"    BENEFIT001309       BENEFIT001309       Whipple, Jennifer


          October 17, 2017 Benefit presentation, "Q1 2019 Roller Eyebright                                           Evans, Chelsea
PTX161                                Pencil"                                BENEFIT001492       BENEFIT001493       Whipple, Jennifer

                                                                                                                     Evans, Chelsea
                                                                                                                     Whipple, Jennifer
PTX162        January 26, 2015 Benefit Roller Lash 2015 Global Toolkit       BENEFIT001684       BENEFIT001720       Fletcher, Megan


           November 12, 2014 Benefit Roller Lash Global Digital Program                                              Evans, Chelsea
PTX163                        November 12, 2014                              BENEFIT001780       BENEFIT001808       Whipple, Jennifer

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                                                                                                                       Evans, Chelsea
PTX164         August 2, 2023 Benefit Roller Lash Roll Out Product           BENEFIT001810        BENEFIT001810        Whipple, Jennifer
       February 13, 2023 e.l.f. cosmetics website comments regarding Lash
                                   'N Roll Review                                                                      Evans, Chelsea
PTX165    https: //www.elfcosmetics.com/lash-n-roll-mascara/83072.html       BENEFIT001819        BENEFIT001819        Whipple, Jennifer
        December 1, 2022 e.lf. instagram comments regarding Roller Lash                                                Evans, Chelsea
PTX166                            and Lash 'N Roll                           BENEFIT001820        BENEFIT001820        Whipple, Jennifer


                                                                                                                       Evans, Chelsea
PTX167        October 14, 2022 Benefit advertisement with Alix Earle         BENEFIT001881        BENEFIT001885        Whipple, Jennifer
          August 14, 2023 Benefit advertisement regarding Alix Earle and                                               Evans, Chelsea
PTX168                               ulta.com                                BENEFIT001912        BENEFIT001912        Whipple, Jennifer
                                                                                                                       Evans, Chelsea
PTX169    August 14, 2023 Benefit display at Ulta displaying Alix Earle      BENEFIT001913        BENEFIT001913        Whipple, Jennifer
       August 14, 2023 Benefit New Lash Party BAD gal Bang! Waterproof                                                 Evans, Chelsea
PTX170                          Mascara Banner                               BENEFIT001924        BENEFIT001924        Whipple, Jennifer
       August 14, 2023 Benefit Always on Editorial Mascara Shrine Close                                                Evans, Chelsea
PTX171                                Up                                     BENEFIT001928        BENEFIT001928        Whipple, Jennifer
                                                                                                                       Evans, Chelsea
PTX172         August 14, 2023 Benefit Roller Lash Photo with Model          BENEFIT001929        BENEFIT001929        Whipple, Jennifer


                                                                                                                       Evans, Chelsea
PTX173           May 8, 2023 Benefit Mascara Family Counter cards            BENEFIT001934        BENEFIT001934        Whipple, Jennifer

                                                                                                                       Evans, Chelsea
PTX174          August 18, 2023 Video regarding Benefit Roller Lash          BENEFIT002025        BENEFIT002025        Whipple, Jennifer
                                                                                                                       Evans, Chelsea
                                                                                                                       Whipple, Jennifer
PTX175             August 18, 2023 Benefit Roller Lash Inspiration           BENEFIT002028        BENEFIT002028        Fletcher, Megan
                                                                                                                       Evans, Chelsea
PTX176        August 18, 2023 Photo of Benefit Roller Lash with rollers      BENEFIT002034        BENEFIT002034        Whipple, Jennifer
                                                                                                                       Evans, Chelsea
PTX177     August 18, 2023 Benefit Roller Lash, with innovations magazine    BENEFIT002036        BENEFIT002036        Whipple, Jennifer
                                                                                                                       Evans, Chelsea
PTX178    August 18, 2023 Benefit Roller Lash Photo with magazine Secrets    BENEFIT002043        BENEFIT002043        Whipple, Jennifer



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                                                                                                                       Evans, Chelsea
PTX179 January 27, 2015 Benefit Benebabe Guide to Roller Lash Exclusive         BENEFIT002050      BENEFIT002058       Whipple, Jennifer
                                                                                                                       Evans, Chelsea
PTX180             August 18, 2023 Benefit Roller Lash Model Photo              BENEFIT002075      BENEFIT002075       Whipple, Jennifer
                                                                                                                       Evans, Chelsea
PTX181            August 18, 2023 Benefit Roller Lash Launch Photo              BENEFIT002076      BENEFIT002076       Whipple, Jennifer
                                                                                                                       Evans, Chelsea
PTX182           August 18, 2023 Benefit Roller Lash Facebook Cover             BENEFIT002079      BENEFIT002079       Whipple, Jennifer
                                                                                                                       Evans, Chelsea
PTX183             August 18, 2023 Benefit Roller Lash No Curler Ad             BENEFIT002086      BENEFIT002086       Whipple, Jennifer
                                                                                                                       Evans, Chelsea
PTX184                August 18, 2023 Benefit Roller Lash Photo                 BENEFIT002088      BENEFIT002088       Whipple, Jennifer
                                                                                                                       Evans, Chelsea
PTX185     August 18, 2023 Benefit Roller Lash with rollers and phone photo     BENEFIT002092      BENEFIT002092       Whipple, Jennifer
           August 18, 2023 Benefit Roller Lash with gold purchase and cell                                             Evans, Chelsea
PTX186                              phone photo                                 BENEFIT002093      BENEFIT002093       Whipple, Jennifer
           August 18, 2023 The Key is the Integration of the Brush, Formula                                            Evans, Chelsea
PTX187                     and Wiper, Benefit Roller Lash                       BENEFIT002096      BENEFIT002096       Whipple, Jennifer
                                                                                                                       Evans, Chelsea
PTX188         August 18, 2023 Benefit Roller Lash Eye-Opening Results          BENEFIT002097      BENEFIT002097       Whipple, Jennifer
                                                                                                                       Evans, Chelsea
PTX189      August 18, 2023 Benefit NEW! Super-Curling Mascara                  BENEFIT002101      BENEFIT002101       Whipple, Jennifer
       August 18, 2023 Benefit Roller Lash, The New Mascara that Hooks,                                                Evans, Chelsea
PTX190                          Lifts and Curls                                 BENEFIT002102      BENEFIT002102       Whipple, Jennifer
                                                                                                                       Evans, Chelsea
PTX191      August 18, 2023 Benefit Roller Lash Hands Full of Props Photo       BENEFIT002105      BENEFIT002105       Whipple, Jennifer
                                                                                                                       Evans, Chelsea
PTX192               August 18, 2023 Photo of Benefit Roller Lash               BENEFIT002106      BENEFIT002106       Whipple, Jennifer
          August 18, 2023 Pinterest Benefit Roller Lash and Power Lift How to
                                       Photos                                                                          Evans, Chelsea
PTX193                                                                          BENEFIT002115      BENEFIT002115       Whipple, Jennifer
             August 18, 2023 Pinterest Benefit Roller Lash How to Photos                                               Evans, Chelsea
PTX194                                                                          BENEFIT002116      BENEFIT002116       Whipple, Jennifer
                                                                                                                       Evans, Chelsea
PTX195           August 18, 2023 Benefit Roller Lash Tips and Tricks            BENEFIT002118      BENEFIT002118       Whipple, Jennifer
                                                                                                                       Evans, Chelsea
PTX196                August 14, 2023 Happy National Lash Day                   BENEFIT002120      BENEFIT002120       Whipple, Jennifer

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                                                                                                                       Evans, Chelsea
PTX197           August 18, 2023 Benefit Roller Lash Flash Sale              BENEFIT002121        BENEFIT002121        Whipple, Jennifer
            August 18, 2023 Benefit Roller Lash Twitter Photo with Eye                                                 Evans, Chelsea
PTX198                            Comparison                                 BENEFIT002132        BENEFIT002132        Whipple, Jennifer
                                                                                                                       Evans, Chelsea
PTX199            August 18, 2023 Benefit Three Mascaras Photo               BENEFIT002139        BENEFIT002139        Whipple, Jennifer
                                                                                                                       Evans, Chelsea
PTX200              August 18, 2023 Benefit Roller Lash Photo                BENEFIT002142        BENEFIT002142        Whipple, Jennifer
                                                                                                                       Evans, Chelsea
PTX201       August 18, 2023 Benefit Roller Lash Beauty School Photo         BENEFIT002227        BENEFIT002227        Whipple, Jennifer
                                                                                                                       Evans, Chelsea
PTX202              August 18, 2023 Benefit Roller Lash Promo                BENEFIT002233        BENEFIT002233        Whipple, Jennifer
                                                                                                                       Evans, Chelsea
PTX203              August 18, 2023 Benefit Roller Lash Promo                BENEFIT002234        BENEFIT002234        Whipple, Jennifer
                                                                                                                       Evans, Chelsea
PTX204     August 18, 2023 Benefit Roller Lash with Make Up Bag Photo        BENEFIT002238        BENEFIT002238        Whipple, Jennifer
                                                                                                                       Evans, Chelsea
PTX205       August 18, 2023 Benefit Roller Lash Photo with Rollers          BENEFIT002243        BENEFIT002243        Whipple, Jennifer
          August 18, 2023 Benefit Roller Lash, Benefit high beam, Benefit                                              Evans, Chelsea
PTX206                                 balm                                  BENEFIT002244        BENEFIT002244        Whipple, Jennifer
                                                                                                                       Evans, Chelsea
PTX207        August 18, 2023 Benefit Roller Lash with Compact Photo         BENEFIT002245        BENEFIT002245        Whipple, Jennifer

          August 13, 2023 Get Ready with Alix Earle's Makeup Must-Haves

       eonlincom/news/1382929/get-ready-with-alix-earles-makeup-must-                                                  Evans, Chelsea
PTX208                             haves                                     BENEFIT002248        BENEFIT002252        Whipple, Jennifer
        August 13, 2023 Benefit Cosmetics Taps Alix Earle for Limited-
                            edition Beauty Bag

               yahoo.com/lifestyle/benefit-cosmetics-taps-alix-earle-                                                  Evans, Chelsea
PTX209                  120000180.html?guccounter=1                          BENEFIT002253        BENEFIT002253        Whipple, Jennifer

        August 17, 2023 Alix Earlie's Makeup Routine Includes These Top
       Benefit Cosmetics Beauty Products at Ulta, Tested and Reviewed by
                                      Editors                                                                          Evans, Chelsea
PTX210 wwd.com/shop/shop-beauty/alix-earle-makeup-routine-1235767979/        BENEFIT002254        BENEFIT002258        Whipple, Jennifer



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          August 13, 2023 Alix Earle Shares her Must-Have Makeup Products
                  from Benefit Cosmetics: Shop the Collection at Ulta

       etonline.com/alix-earle-shares-her-must-have-makeup-products-from-                                           Evans, Chelsea
PTX211               benefit-cosmetics-shop-the-collection-at-ulta-         BENEFIT002259       BENEFIT002261       Whipple, Jennifer
          August 16, 2023 Image from video regarding Benefit Roller Lash                                            Evans, Chelsea
PTX212           tiktok.com/@alixearle/video/7266842163982601518            BENEFIT002262       BENEFIT002263       Whipple, Jennifer
            January 1, 2022 Benefit San Francisco Beauty for All: 2022
                                      Programs
       https://lookerstudio.google.com/reporting/ec941035-7113-4c68-a998-                                           Evans, Chelsea
PTX213                        aac250918582/page/XOw6B                       BENEFIT002267       BENEFIT002285       Whipple, Jennifer
             January 10, 2024 Amazon.com e.l.f. Lash 'N Roll Mascara

         https://www.amazon.com/I-f-Mascara-Separates-Long-Lasting-                                                 Evans, Chelsea
PTX214       Cruelty-Free/dp/B0C7SML1SM?th=1#customerReviews                BENEFIT057523       BENEFIT057534       Whipple, Jennifer
        October 13, 2023 5 Affordable Benefit Roller Lash Dupes in 2023                                             Evans, Chelsea
PTX215             melissajanelee.com/benefit-roller-lash-dupes/            BENEFIT057535       BENEFIT057545       Whipple, Jennifer
         January 10, 2024 Website shopping site search for Roller Lash                                              Evans, Chelsea
PTX216                               Mascara                                BENEFIT057546       BENEFIT057546       Whipple, Jennifer
          January 10, 2024 Website shopping site search for lash n roll                                             Evans, Chelsea
PTX217                               mascara                                BENEFIT057547       BENEFIT057547       Whipple, Jennifer
          January 11, 2024 elf Lash N Roll Mascara Review-Must Try!
                   https://milabubeautyreview.com/elf-lash-n-roll-
       mascara/#:~:text=They%20do%20differ%20slightly%2C%20with,clai                                                Evans, Chelsea
PTX218                  ms%20for%20Lash%20and%20Roll                        BENEFIT057548       BENEFIT057556       Whipple, Jennifer
                 January 10, 2024 Sephora search for Lash N Roll
          https://www.sephora.com/search?keyword=lash%20n%20roll                                                    Evans, Chelsea
PTX219                                                                      BENEFIT057639       BENEFIT057641       Whipple, Jennifer

          January 24, 2024 Too Faced.com Better than Sex Waterproof
                                      Mascara
               https://www.toofaced.com/product/23484/59117/eye-                                                    Evans, Chelsea
PTX220 makeup/mascara/better-than-sex-waterproof-mascara#/shade/Black       BENEFIT057643       BENEFIT057650       Whipple, Jennifer
                  January 23, 2024 Clinique High Impact Mascara
       https://www.clinique.com/product/1606/5416/makeup/mascara/high-                                              Evans, Chelsea
PTX221                     impact-mascara?shade=Black                       BENEFIT057656       BENEFIT057664       Whipple, Jennifer
                        January 23, 2024 Covergirl Mascaras                                                         Evans, Chelsea
PTX222            https://www.covergirl.com/eye-makeup/mascara              BENEFIT057665       BENEFIT057667       Whipple, Jennifer


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              January 23, 2024 “Mascara” page on the L’Oréal website,                                                   Evans, Chelsea
                      Declaration of Andreina Almazlinos Ex. 1                                                          Whipple, Jennifer
PTX223      https://www.lorealparisusa.com/makeup/eye/mascara?page=2           BENEFIT057679      BENEFIT057683       Almazlinos, Andreina

          January 24, 2024 Beauty 21’s website showing L.A. Colors mascara
                         products, Declaration of Chelsea Trinh                                                        Evans, Chelsea
           https://www.lacolors.com/collections/mascara?sort_by=best-selling                                           Whipple, Jennifer
PTX224                                                                         BENEFIT057684      BENEFIT057684         Trinh, Chelsea
                        January 23, 2024 Lancome Mascaras
            https://www.lancome-usa.com/makeup/eye-makeup/mascaras/                                                    Evans, Chelsea
PTX225                                                                         BENEFIT057685      BENEFIT057690        Whipple, Jennifer
            January 23, 2024 : “Mascara” page on the Maybelline website,
                        Declaration of Anthony Caselle Ex. 1

                 https://www.maybelline.com/eye-makeup/mascara?
          GeoRedirectOff=True&gad_source=1&acs_info=0cZmluYWxfdXJsOi
          AiaHR0cHM6Ly93d3cubWF5YmVsbGluZS5jb20vZXllLW1ha2V1cC9
          tYXNjYXJhIgo&gclid=CjwKCAiA5L2tBhBTEiwAdSxJXwUwN5wyXRb
          IS4KtpGDgC6H7N7OtKbKpstwv9WhvchzprDIs84YBtBoCydsQAvD_                                                        Evans, Chelsea
                                BwE&gclsrc=aw.ds                                                                       Whipple, Jennifer
PTX226                                                                         BENEFIT057691      BENEFIT057702        Caselle, Anthony
                          January 23, 2024 Target Mascaras

             https://www.target.com/c/mascara-eyes-makeup-beauty/-/N-                                                  Evans, Chelsea
PTX227       5xu14?sortBy=bestselling&moveTo=product-list-grid&Nao=0           BENEFIT057709      BENEFIT057746        Whipple, Jennifer

       January 24, 2024 Tarte High-Performance Naturals Tartelette Tubing
                                    Mascara                                                                             Evans, Chelsea
PTX228 https://tartecosmetics.com/shop/tartelette-tubing-mascara-2562.html     BENEFIT057747      BENEFIT057750        Whipple, Jennifer
                                                                                                                        Evans, Chelsea
                       January 23, 2024 Ulta Beauty Mascaras                                                           Whipple, Jennifer
PTX229        https://www.ulta.com/shop/makeup/eyes/mascara?page=4             BENEFIT057751      BENEFIT057778        Fletcher, Timothy


       January 23, 2024 Excel regarding US Circana Mascara by Brand FY                                                 Evans, Chelsea
PTX230                               2023                                      BENEFIT057779      BENEFIT057779        Whipple, Jennifer




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                                                                                                                         Evans, Chelsea
          January 23, 2024 Excel regarding US Circana Mascara by Product                                                Whipple, Jennifer
PTX231                               FY 2023                                   BENEFIT057780        BENEFIT057780       Fletcher, Timothy

           January 24, 2024 Lancome Definicils High-Definition Mascara
        https://www.lancome-usa.com/makeup/eye-makeup/definicils-high-                                                  Evans, Chelsea
PTX232 definition-mascara/76805.html?dwvar_76805_color=Deep%20Brown            BENEFIT057781        BENEFIT057786       Whipple, Jennifer
           January 24, 2024 Lancome Definicils High-Definition Mascara
        https://www.lancome-usa.com/makeup/eye-makeup/definicils-high-                                                  Evans, Chelsea
PTX233       definition-mascara/76805.html?dwvar_76805_color=Black             BENEFIT057787        BENEFIT057792       Whipple, Jennifer


             June 12, 2018 e.l.f. produced financial data for non-accused
PTX234                 mascara products, Keep your curl sales                    ELF0015223           ELF0015223          Hansen, John


           February 4, 2024 e.l.f. produced financial data for non-accused
PTX235       mascara products, Big Mood, Lash it Loud and Lash Beats             ELF0015224           ELF0015224          Hansen, John


           February 11, 2024 e.l.f. produced financial data for Lash 'N Roll
PTX236                                  Sales                                    ELF0015235           ELF0015235          Hansen, John

                             e.l.f. Lash 'N Roll Mascara
PTX237     https://www.elfcosmetics.com/lash-n-roll-mascara/300213.html                                                   Hansen, John

        Instagram e.l.f. Cosmetics, Wanna See What's in our Makeup Bag?
       https://www.instagram.com/p/CvU9rWRLFLu/?igsh=MzRlODBiNWFl
PTX238                                     ZA==                                                                           Hansen, John
                  Instagram e.l.f. Cosmetics, No Tricks, Just Treats!
       https://www.instagram.com/p/Cy_RlYnRSNE/?igsh=MzRlODBiNWFl
PTX239                                     ZA==                                                                           Hansen, John
                                   e.l.f. your best self
PTX240                  https://www.tiktok.com/t/ZPRTc2JVC/                                                               Hansen, John
                Instagram e.l.f. Cosmetics, Happy National Lash Day!
       https://www.instagram.com/reel/C3iXQvexTkt/?igsh=MzRlODBiNWFl
PTX241                                     ZA==                                                                           Hansen, John


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EX. NO.                              DESCRIPTION                                    BEGBATES            ENDBATES        SPONSORING WITNESS     STATUS OF RECEIPT
            Purchase-point URL for the Roller Lash at BenefitCosmetics.com
           and includes description, ingredients, and attributes of the product.
              https://www.benefitcosmetics.com/en-us/product/roller-lash-                                                   Hansen, John
                                    curlingmascara?                                                                       Fletcher, Timothy
                        product=ROLLEEM01-FULL&sku=EM01                                                                    Evans, Chelsea
PTX242                                                                                                                    Whipple, Jennifer
       Edwards, G. Kip. “The Daubert Revolution and Lanham Act Surveys.”
        Trademark and Deceptive Advertising Surveys: Law, Science, and
       Design. Edited by Shari Seidman Diamond and Jerre B. Swann. ABA
          Section of Intellectual Property Law. American Bar Association,
PTX243                    Second Edition 2022. pgs.337-370                                                                   Stec, Jeffrey
                             Ulta Beauty, Inc.’s 2023 10-K
       https://www.sec.gov/Archives/edgar/data/1403568/00015583702300
PTX244                       4581/ulta-20230128x10k.htm                                                                      Stec, Jeffrey
        November 13, 2023 "Gestalt design principles" by Kai Tomboc and
                  provides a general overview of gestalt principles
PTX245        https://www.lyssna.com/en/blog/gestaltdesign-principles/                                                     Fletcher, Timothy
       August 30, 2016 "What are the Gestalt Principles?" published on the
                        Interaction Design Foundation website
        https://www.interactiondesign.org/literature/topics/gestalt-principles
PTX246                                                                                                                     Fletcher, Timothy
           March 29, 2014 "Design Principles: Visual Perception and The
       Principles Of Gestalt" by Steven Bradley in SmashingMagazine.com
       https://www.smashingmagazine.com/2014/03/design-principlesvisual-
                       perception-and-the-principles-of-gestalt/
PTX247                                                                                                                     Fletcher, Timothy
          June 1, 2022 "The Gestalt Principles of Design Subtly Influence Your
               Brain. Here's How." by Piotr Smietana on Superside.com
              https://www.superside.com/blog/gestalt-principles-of-design
PTX248                                                                                                                     Fletcher, Timothy
          Wagemans et al (2012), " A Century of Gestalt Psychology in Visual
              Perception: II. Conceptual and Theoretical Foundations",
                    Psychological Bulletin, 138(6), 1218–1252
PTX249                                                                                                                     Fletcher, Timothy
        Wagemans et al (2012), “A Century of Gestalt Psychology in Visual
       Perception: I. Perceptual Grouping and Figure-Ground Organization,”
PTX250                 Psychology Bulletin, 138(6), 1172-1217                                                              Fletcher, Timothy



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          Rainer et al., "Effects of Visual Experience on the Representation of
          Objects in the Prefrontal Cortex", Neuron, Vol 27.179-189 (July 2000)
PTX251                                                                                                                     Fletcher, Timothy
          August 1, 2017 "Cognitive Psychology In and Out of the Laboratory"
          by Kathleen M. Galotti of Carleton College, Minnesota. "Chapter 3:
                    Perception: Recognizing Patterns and Objects"

                    https://www.sagepub.com/sites/default/files/upm-
                                binaries/53259_ch_3.pdf
PTX252                                                                                                                     Fletcher, Timothy
          January 17, 2024 Thales S. Teixeira, "The Rising Cost of Consumer
           Attention: Why You Should Care, and What You Can Do About It"
             (Harvard Business School Research Paper No. 14-055, 2014)
          https://www.hbs.edu/faculty/Publication%20Files/14-055_2ef21e7e-
                          7529-4864-b0f0-c64e4169e17f.pdf
PTX253                                                                                                                     Fletcher, Timothy
             February 16, 2005 Ziming Liu, " Reading behavior in the digital
          environment: Changes in reading behavior over the past ten years",
             Journal of Documentation, Vol. 61 Issue: 6, pp.700-712 (2005),
PTX254                https://doi.org/10.1108/00220410510632040                                                            Fletcher, Timothy
           March 17, 2017 Jia Wertz, "How to Compete For Consumers Online
                       While Attention Spans Diminish", Forbes,
           https://www.forbes.com/sites/jiawertz/2017/03/17/how-to-compete-
          forconsumers-online-while-attention-spans-diminish/#5310ab116667
PTX255                                                                                                                     Fletcher, Timothy
                       This is the "about us" section of Ulta's site
                        https://www.ulta.com/company/about-us
PTX256                                                                                                                     Fletcher, Timothy
                      This is the "about us" section of Target's site
                            https://corporate.target.com/about
PTX257                                                                                                                     Fletcher, Timothy




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          September 19, 2017 Smithsonian Magazine, "The World Has Millions
             of Colors. Why Do We Only Name a Few?: Cognitive scientists
           suggest that we name the colors of things we want to talk about" by
                  Ted Gibson and Bevil R. Conway, The Conversation

            https://www.smithsonianmag.com/science-nature/why-different-
                      languages-name-differentcolors-180964945/

PTX258                                                                                                                  Fletcher, Timothy
             Purchase-point URL for "Empty Eyelash Cream Brush Bottle
            Container Mascara Castor Oil Tube" at aliaba.com and includes
                photos, description, cost, and attributes of the product

          https://www.alibaba.com/product-detail/Empty-Eyelash-Cream-Brush-
                                       Bottle-
          Container_1600115837545.html?spm=a2700.pccps_detail.0.0.30911
                                     3a0HucvTV
PTX259                                                                                                                  Fletcher, Timothy
            February 17, 2012 Blog article by Leza on LezaMakeupBlog titled,
          "Drug Store vs. High End Makeup. Who’s Better? Ever Wonder Who
                              Owns L Oreal or Lancome?
           https://lezamakeup.wordpress.com/2012/02/17/drug-store-vs-high-
           endmakeup-whos-better-ever-wonder-who-owns-loreal-or-lancome/
PTX260                                                                                                                  Fletcher, Timothy
         Purchase-point URL for the Roller Lash at Ulta.com and includes
                description, ingredients, and attributes of the product.
               https://www.ulta.com/p/roller-lash-curling-liftingmascara-
PTX261                           xlsImpprod11951085                                                                     Fletcher, Timothy
       "Fundamentals of Packaging Technology: The definitive resource on
              packaging technology." 6th Edition, Institute of Packaging
PTX262                               Professionals                                                                      Fletcher, Timothy
            Neiman Marcus url to purchase Guerlain Mad Eyes Mascara
                            Buildable Volume Lash By Lash
          https://www.neimanmarcus.com/p/guerlain-mad-eyes-mascara-
                    buildable-volume-lash-by-lashprod232690029?
       childItemId=NMC57ER_&msid=3592005&navpath=cat000000_cat00
                                       0285_cat
           10420742_cat10470733_cat10470763&page=0&position=12
PTX263                                                                                                                  Fletcher, Timothy


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                                                                                                                       Evans, Chelsea
                                                                                                                      Whipple, Jennifer
                                                                                                                      Fletcher, Megan
PTX264         Benefit Roller Lash, Standard Size, Physical Product                                                   Fletcher, Timothy
                                                                                                                       Evans, Chelsea
                                                                                                                      Whipple, Jennifer
                                                                                                                      Fletcher, Megan
PTX265              Benefit Roller Lash Mini, Physical Product                                                        Fletcher, Timothy
                                                                                                                       Evans, Chelsea
                                                                                                                      Whipple, Jennifer
                                                                                                                      Fletcher, Megan
PTX266         Benefit Curls Trip promotional pack, Physical Product                                                  Fletcher, Timothy


                                                                                                                      Evans, Chelsea
PTX267         February 19, 2021 Benefit Curls Trip Packaging Photo         BENEFIT029211        BENEFIT029211        Whipple, Jennifer




                                                                                                                     Urhausen, Jessica
PTX268    February 2, 2022 New Mascara Lash It Loud Family Lash 'N Roll       ELF0000097           ELF0000098           Otani, Laura
                                e.l.f. Mascaras                                                                      Urhausen, Jessica
                                                                                                                     Boston, Brooklyn
PTX269             https://www.elfcosmetics.com/eyes/mascara                                                            Otani, Laura
             MAKEUP DUPES That Rival High End Products 2024
PTX270         https://www.youtube.com/watch?v=VStkySDiSTQ                                                             Colby, Victoria
           NEW! e.l.f. Lash 'N Roll Review & Wear Test Vlogmas Day 10
PTX271          https://www.youtube.com/watch?v=jsuXpDo7mps                                                            Colby, Victoria

                        e.l.f. FINALLY Has A Good Mascara?
PTX272 https://www.youtube.com/watch?app=desk-top&v=L2eQVTMWMaI                                                        Colby, Victoria
                 Drugstore makeup dupes for viral high end makeup
       https://www.tiktok.com/@kellystrackofficial/video/7135596990615801
PTX273                                 131?q=m                                                                         Colby, Victoria
                                      The Ending
       https://www.tiktok.com/@layallure/video/7244218410178006315?q=
PTX274                                    m                                                                            Colby, Victoria
                                 Dupe vs Original Part 1
PTX275    https://www.tiktok.com/@lordthivi/video/7298766074865093893                                                  Colby, Victoria

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                                                                 Plaintiff Benefit Cosmetics Third Amended Exhibit List
                                                                      Benefit Cosmetics vs. E.L.F. Cosmetics, Inc.
                                                                               Case No. 3:23-cv-00861-RS


 TRIAL
EX. NO.                            DESCRIPTION                                         BEGBATES           ENDBATES        SPONSORING WITNESS     STATUS OF RECEIPT
        Shopping For Popular Makeup DUPES, Viral Tiktok Makeup Dupes
                                       2024
PTX276           https://www.youtube.com/watch?v=JNJpgl06s5s                                                                  Colby, Victoria
       Dupe? e.l.f. Lash N' Roll vs Benefit Roller Lash Curling Mascara + All
                                   Day Wear Test
PTX277         https://www.youtube.com/watch?v=bUVRRAkKP-w                                                                    Colby, Victoria




       March 1, 2024 Expert Report of Sarah Butler with Exhibits A-B, C.1,                                                   Butler, Sarah
PTX278     C.2, D.1, E, Proof of Service (Sarah Butler Deposition Ex. 1)                                                     Stec, Jeffrey
         June 9, 2015 USPTO Registration No. 4,752,213 for Roller Lash;                                                     Evans, Chelsea
PTX279                             Benefit Cosmetics                                                                        Whipple, Jennifer
         August 18, 2015 USPTO Registration No. 4,796,514 for Hook 'N'                                                      Evans, Chelsea
PTX280                          Roll; Benefit Cosmetics                                                                     Whipple, Jennifer
                 March 29, 2024 Curriculum Vitae for Jeffrey A. Stec
PTX281         (Exhibit 1 to Rebuttal Expert Report of Jeffrey A. Stec)                                                        Stec, Jeffrey
              March 29, 2024 Materials Considered for Jeffrey A. Stec
PTX282        (Exhibit 3.0 to Rebuttal Expert Report of Jeffrey A. Stec)                                                       Stec, Jeffrey
              March 29, 2024 Curriculum Vitae for Timothy P. Fletcher
PTX283          (Exhibit 001 to Expert Report of Timothy P. Fletcher)                                                        Fletcher, Timothy
       March 29, 2024 Materials Considered for Timothy P. Fletcher (Exhibit
PTX284              002 to Expert Report of Timothy P. Fletcher)                                                             Fletcher, Timothy
                 March 1, 2024 Curriculum Vitae for John L. Hansen
PTX285           (Attachment 1 to Expert Report of John L. Hansen)                                                            Hansen, John
       March 1, 2024 Materials Considered for John L. Hansen (Attachment
PTX286                  3 to Expert Report of John L. Hansen)                                                                 Hansen, John
         April 26, 2024 Updated Materials Considered for John L. Hansen
PTX287      (Attachment 3.U to Expert Reply Report of John L. Hansen)                                                         Hansen, John
        “Fundamentals of Packaging Technology,” Excerpts, Fifth Edition,
       Institute of Packaging Professionals, copyright 2013 (March 1, 2024
PTX288                  Expert Report of Glenn May Exhibit D)                                                                  May, Glenn
       Representative examples of mascara products using pink and black
          branding located through Mintel Global New Product Database
PTX289         (March 1, 2024 Expert Report of Glenn May Exhibit G)                                                            May, Glenn
          May 15, 2024 Rebuttal Expert Report of Jeffrey A. Stec, Ph.D,
       Exhibits 1-4, 4.1, 4.2, 4.3, 4.4, 4.5, 5.0, 5.1, 5.2, 5.3, 5.4, 5.5, 5.6, 5.7
PTX290                      (Jeffrey Stec Deposition Ex. 1)                                                                    Stec, Jeffrey

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                                                         Plaintiff Benefit Cosmetics Third Amended Exhibit List
                                                              Benefit Cosmetics vs. E.L.F. Cosmetics, Inc.
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 TRIAL
EX. NO.                          DESCRIPTION                                  BEGBATES            ENDBATES        SPONSORING WITNESS   STATUS OF RECEIPT
          Physical Sample of Secondary Packaging for Benefit Roller Lash
PTX291                         (newer packaging)                                                                     Fletcher, Megan




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